
Cox, J.
Plaintiffs in error sought to recover below a sum of money which they claimed they had paid involuntarily. The controversy had been as to the price plaintiffs were to pay for -a quantity of goods. Plaintiffs claimed that they were to be furnished the goods at the lowest price which might obtain during a period of thirty days. The jury returned a general-verdict for plaintiffs, an'd also a special verdict finding that the price of the goods was to be the lowest prevailing during the designated period of thirty days. The plaintiffs moved for judgment on the verdict, and also for a new trial, which motions were overruled, and on motion of defendants judgment was given in their favor.
Held, that the special verdict was not inconsistent with the general verdict, and the judgment should have been for the plaintiffs, under section 5202, Rev. Stats., or the court should have granted a new trial.
Cause remanded.
